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Petitioner would actually be in-line with time served and thus his
request due to the extraordinary and compelling circumstances is
not inconsistent with other court decisions of defendant's whom
would be granted such relief pursuant to a filing under compassio-
nate release consideration.

    As a matter of legal consequences, per FRAP; Defendant's should
be sentenced to a fair amount of time, but not more than necessary
when the Court is to consider and/or levy a sentence.

    Petitioner has appropriately exhausted all the required remedies
cited herein The First Step Act of 2018. ·r~ee Attachment of requt~ed
remedies completed):•
                         II. LEGAL-BACKGROUND
    On December 21, 2018, the President signed the First Step Act
into law. Among the criminal justice reforms in the bill, Congress
amended 18 U.S.C. § 3582(c)(l)(A)(i) to provide the sentencing judge
jurisdiction to consider a defense motion for reduction of sentence
based on extraordinary and compelling reasons whenever "the defendant
hds fully exhausted all administrative rights to appeal a failure
of the Bureau of Prisons to bring a motion on the defendant's behalf."
or after "the lapse of 30 days from the receipt of such a request
by the warden of the defendant's facility, whichever is earlier [.]"
First Step Act of 2018, §603(b), Pub. I. 115-391, 132 Stat. 5194
5239, (Dec. 21, 2018).

    Prior to the passage of the First Step Act, motions for compa-
ssionate release could only be filed with the court by the Bureau
of Prisons. The First Step Act gave prisoners the right to petition
the court directly because the Bureau of Prisons had failed to mean-
ingfully exercise its authority to pursue compassionate release for
those who were eligible. See e.g., Department of Justice, Office of
the Inspect0r General, The Federal Bureau of Prisons' Compassionate
Release Program, at 11 (April 2013), (hereinafter "OIG Compassionate
Release Report") ("The BOP does not properly manage the compassionate
release program, resulting in inmates who may be eligible candidates
for release not being considered.") See Also Department of Justice



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11/04/2019
 � Penn Medicine
                                                                                                              Department of Neurology

   Pennsylvania Hospital                                                                                  Allison W. Willis, MD, MSCI
                                                                                           Parkinson's Disease & Movement Disorders




 RE:              Joan S Downs
 MRN:             347013658
 Date of Birth:
 Date of Visit:   10/31/2019


October 31, 2019

To Whom It may Concern

Mrs. Downs is under my care for a chronic neurodegenerative condition, Parkinson. disease. She
was last seen in the office on October 31, 2019. Parkinson Disease is progressive, and currently
cannot be prevented or cured. Currently, Mrs. Downs is exhibiting reduced benefit from her
Parkinson disease medications and has very prominent symptoms at times. Because of disease
symptoms and severity, she is at risk of having negative health events leading to hospitalizati_on or
worse. The amount of time she will have without significant disability cannot be predicted. I
recommend that she receive familial support, which may include in-person support from her
children. Please consider Mrs. Downs health in your decision making to allow Mr. Downs' furlough




Sincerely,

Allison Willis, MD

Allison W. Willis, MD, MSCI
Movement Disorders Specialist, Parkinson Disease & Movement Disorders Center
Associate Professor of Neurology and of Epidemiology & Biostatistics
University of Pennsylvania Perelman School of Medicine




                                                                                                                Attachment Ill
                  330 South 9th Street I Philadelphia, PA 19107   I 215.829.6500 I 215.829.6606 I Penn@hart




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   10/28/2019            **   WORK COPY - NOT FOR MEDICAL RECCRD **
PHILADELPHIA VAMC                                       10/22/2019 17:38                  Page:   1
PATIENT NAME
DOWNS,DEE                                                                   I CLAIM NUMBER
                                                                              19076018
  ADM DATE
OCT 19, 2019 I
                   DISC DATE      I TYPE OF RELEASE     I   INP   I   ABS
                                                                            I   WARD NO

DICTATION DATE: OCT 22, 2019                    TRANSCRIPTION DAT.E: OCT 22, 2019
LOCAL TITLE: DISCHARGE INSTRUCTIONS       AND   SUMMARY PHI
STANDARD TITLE: DISCHARGE SUMMARY
TRANSCRIPTIONIST: bh
                                      DISCHARGE INSTRUCTIONS

Patient Information:

Name: DEE DOWNS
Date of Birth:
Admission Information:
=--==---===--=-------
Date of Admission: Oct 19,2019
Date of Discharge: Oct 22,2019
Discharged to: SNF
Attending Physician.at Discharge:
=====------------------=========
First name Bruce
Last name Hopper
Diagnoses:
_______ i::;:_


Primary Diagnosis for Admission: UTI, falls
Secondary Diagnoses Addressed During Admission: bladder outlet obstruction w
chronic indwelling foley c/b recurrent UTis, HFrEF, and progressive dementia

Does the patient smoke?
TOBACCO USER STATUS
  PT DOES NOT USE TOBACCO/TOBACCO PRODUCTS                  10/17/2019

  No data available for ACCEPTS CESSATION COUNSELING;
DECLINES CESSATION COUNSELING
   No
                                                                       -------
Medicine/Surgery Discharge--------------------------------- -----------
Operations and Procedures:
=-=--======-------------=
None

PATIENT: DOWNS,DEE                                     VA FORM 10-1000 DISCHARGE SUMMARY
XXX-XX-XXXX DOB: 10/26/1931                                                     C O P Y
                                                I
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